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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                     )
 AVERAGE WHOLESALE PRICE                            )
 LITIGATION                                         )
                                                    )
                                                    )
 THIS DOCUMENT RELATES TO:                          )    MDL No. 1456
                                                    )    Master File No. 01-12257-PBS
 United States of America ex rel. Ven-a-Care of     )    Subcategory Case No. 06-11337 -PBS
 the Florida Keys, Inc. v. Abbott Laboratories,     )
 Inc., Civil Action No. 06-11337-PBS                )
                                                    )    Hon. Patti B. Saris
                                                    )
                                                    )    Magistrate Judge Marianne B. Bowler



                                    ORDER OF DISMISSAL

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, 31 U.S.C. § 3730(b)(1), the United States, Relator Ven-A-Care

of the Florida Keys, Inc., and Abbott Laboratories Inc. and Abbott Laboratories (“Abbott”)

(collectively, the “Parties”) filed with this Court a Stipulation of Voluntary Dismissal in the

above-captioned case. Upon due consideration of the Stipulation of Voluntary Dismissal,

       IT IS ORDERED that:

       1.      Consistent with the terms of the December 7, 2010, Settlement Agreement

executed by the United States, Abbott, and Relator (a copy of which is attached as Exhibit A), all

civil monetary claims asserted on behalf of the United States in United States ex rel. Ven-A-Care

of the Florida Keys, Inc. v. Abbott Laboratories, Inc., 06-21303-CV-GOLD (S.D. Fla.)

(previously captioned United States ex rel. Ven-A-Care of the Florida Keys, Inc. v. Abbott

Laboratories, Inc., 06-CV-11337-PBS (D. Mass.)), shall be dismissed with prejudice.
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       2.     Each party shall bear its own costs and attorneys’ fees.

       3.     The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement to the extent reasonably necessary and appropriate.

       IT IS SO ORDERED THIS __ day of _____________, 2010.



                                             _______________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE

cc: Counsel of Record




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